              IN THE DISTRICT COURT OF THE UNITED STATES
             FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                          ASHEVILLE DIVISION
                               1:02 cr 45-6


UNITED STATES OF AMERICA,                      )
                                               )
Vs.                                            )
                                               )                ORDER
EDWARD WAYNE ELLIOTT,                          )
                                               )
                  Defendant.                   )
____________________________________           )


      THIS MATTER is before the undersigned pursuant to a Motion to Continue

(#366) filed by counsel for Defendant.   It appearing to the Court that good cause

has been shown for the granting of the motion and the Government has been

consulted and consented to the motion and therefore the motion will be allowed.

                                    ORDER

      IT IS, THEREFORE, ORDERED that the Motion to Continue (#366) is

ALLOWED.

                                             Signed: September 3, 2015




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